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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-21961-CIV-ALTONAGA/Torres

  ALAN DERSHOWITZ,

          Plaintiff,
  v.

  NETFLIX, INC.; et al.,

        Defendants.
  ______________________________/


           ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
       MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning August

  1, 2022. Calendar call will be held at 9:00 a.m. on Tuesday, July 26, 2022. No pre-trial

  conference will be held unless a party requests one and the Court determines that one is necessary.

  The parties shall adhere to the following schedule:

          August 24, 2021. The parties shall select a mediator in accordance with Local Rule 16.2;
          schedule a time, date and place for mediation; and jointly file a proposed order
          scheduling mediation in the form specified on the Court’s website,
          http://www.flsd.uscourts.gov. If the parties cannot agree on a mediator, they shall notify
          the Clerk in writing as soon as possible, and the Clerk shall designate a certified mediator
          on a blind rotation basis. Counsel for all parties shall familiarize themselves with and
          adhere to all provisions of Local Rule 16.2. Within seven (7) days of mediation, the parties
          are required to file a mediation report with the Court. In accordance with the procedures
          outlined in the CM/ECF Administrative Procedures, the proposed order must be emailed
          to altonaga@flsd.uscourts.gov in Word format.

          September 14, 2021. All motions to amend pleadings or join parties are filed.

          March 7, 2022. Parties exchange expert witness summaries or reports.

          March 21, 2022. Parties exchange rebuttal expert witness summaries or reports.
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         April 4, 2022. All discovery, including expert discovery, is completed. 1

         April 11, 2022. Parties must have completed mediation and filed a mediation report.

         April 19, 2022. All pre-trial motions and Daubert motions (which include motions to
         strike experts) are filed. Each party is limited to filing one Daubert motion. If all
         evidentiary issues cannot be addressed in a 20-page memorandum, leave to exceed the page
         limit will be granted. The parties are reminded that Daubert motions must contain the
         Local Rule 7.1(a)(3) certification.

         May 17, 2022. Parties shall file and submit joint pre-trial stipulation, proposed jury
         instructions and verdict form, or proposed findings of fact and conclusions of law, as
         applicable, and motions in limine (other than Daubert motions). Each party is limited to
         filing one motion in limine which may exceed the page limits allowed by the Rules. The
         parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
         certification.

         Jury Instructions and Verdict Form. The parties shall submit their proposed jury

  instructions and verdict form jointly, although they need not agree on each proposed instruction.

  Where the parties do not agree on a proposed instruction, that instruction shall be set forth in bold

  type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by

  a defendant shall be italicized. Every instruction must be supported by citation to authority. The

  parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including

  the directions to counsel contained therein. Proposed jury instructions and verdict form, in typed

  form, including substantive charges and defenses, shall be filed and submitted to the Court prior

  to calendar call, in Word format, via e-mail to altonaga@flsd.uscourts.gov. Instructions for filing

  proposed documents may be viewed at http://www.flsd.uscourts.gov.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, all discovery matters are referred to Magistrate Judge Edwin G. Torres. Furthermore,




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   The parties by agreement, and/or Magistrate Judge Torres, may extend this deadline, so long as such
  extension does not impact any of the other deadlines contained in this Scheduling Order.


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  in accordance with 28 U.S.C. § 636(c)(1), the parties may consent to trial and final disposition by

  Magistrate Judge Torres. The deadline for submitting a consent is April 19, 2022.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be made only with the Court’s approval.

  See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b), the parties

  shall not file notices of deposition with the Court. Strict compliance with the Local Rules is

  expected, particularly with regard to motion practice. See S.D. FLA. L.R. 7.1.

         Discovery Disputes. Magistrate Judge Torres holds a regular discovery calendar. No

  written discovery motions, including motions to compel, for protective order, or related

  motions for sanctions shall be filed unless the Magistrate Judge so directs at his discovery

  calendar. Counsel must actually confer and engage in reasonable compromise in a genuine effort

  to resolve their discovery disputes before noticing the dispute for the discovery calendar. The

  Court may impose sanctions, monetary or otherwise, if it determines discovery is being improperly

  sought or is being withheld in bad faith. If, after conferring, the parties are unable to resolve their

  discovery dispute without Court intervention, they shall not file written motions. Rather, the

  “moving party” shall contact the chambers of Magistrate Judge Torres at (305) 523-5750 and place

  the matter on the next available discovery calendar.

         DONE AND ORDERED in Miami, Florida, this 3rd day of August, 2021.



                                                    _______________________________________
                                                    CECILIA M. ALTONAGA
                                                    CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record


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